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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


             In re:                                                      Chapter 11

             TONOPAH SOLAR ENERGY, LLC,1                                 Case No. 20-11884 (KBO)

                                       Debtor.


                               NOTICE OF AGENDA OF MATTERS SCHEDULED
                      FOR TELEPHONIC HEARING ON SEPTEMBER 4, 2020 AT 10:00 A.M. (ET)


                             ANY PARTY WISHING TO PARTICIPATE IN THE HEARING
                                  MUST APPEAR THROUGH COURTCALL, LLC.

                                  PARTIES SHOULD CONTACT COURTCALL, LLC
                                 AT 844-925-0626 TO REGISTER THEIR APPEARANCE.


             RESOLVED MATTERS

             1.        Debtor’s Motion for Entry of an Order Authorizing the Debtor to Enter into Operation
                       and Management Agreement [D.I. 46, 7/30/20]

                       Response/Objection Deadline:                       August 13, 2020 at 4:00 p.m. (ET)

                       Responses/Objections Received:                     None

                       Related Pleadings:

                          A.      Notice of Amended Exhibit [D.I. 79, 8/18/20]

                          B.      Certificate of No Objection [D.I. 134, 8/31/20]

                          C.      Order Authorizing the Debtor to Enter into Operation and Maintenance
                                  Agreement [D.I. 137, 9/1/20]

                       Status:    An order has been entered.




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               The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number, is
             Tonopah Solar Energy, LLC (1316). The Debtor’s headquarters is located at 11 Gabbs Pole Line Road, Tonopah,
             NV 89049.

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             2.   Debtor’s Motion for Entry of an Order Authorizing Rejection of Operation and
                  Maintenance Agreement Effective as of the Date of Transfer of Operations and
                  Maintenance Services [D.I. 47, 7/30/20]

                  Response/Objection Deadline:                 August 13, 2020 at 4:00 p.m. (ET)
                                                               [Extended until August 28, 2020 for PIC
                                                               Group, Inc.]

                  Responses/Objections Received:

                     A.      Informal comments from PIC Group, Inc.

                  Related Pleadings:

                     B.      Certification of Counsel [D.I. 135, 8/31/20]

                     C.      Order Authorizing Rejection of Operation and Maintenance Agreement
                             Effective as of the Date of Transfer of Operations and Maintenance Services
                             [D.I. 138, 9/1/20]

                  Status:    An order has been entered.

             CONTESTED MATTER GOING FORWARD

             3.   Debtor’s Motion for an Order (I) Approving the Disclosure Statement; (II) Approving
                  Solicitation and Voting Procedures, Including (A) Fixing the Record Date,
                  (B) Approving the Solicitation Packages and Procedures for Distribution, (C) Approving
                  the Form of Ballot and Establishing Procedures for Voting, and (D) Approving
                  Procedures for Vote Tabulation; (III) Scheduling a Confirmation Hearing and
                  Establishing Notice and Objection Procedures; and (IV) Granting Related Relief [D.I. 36,
                  7/30/20]

                  Response/Objection Deadline:                 August 13, 2020 at 4:00 p.m. (ET)
                                                               [Extended for Brahma Group, Inc.]

                  Responses/Objections Received:

                     A.      Informal comments from the Office of the United States Trustee

                     B.      Informal comments from Brahma Group, Inc.

                     C.      Objection of SolarReserve CSP Holdings, LLC to Debtors’ Request for
                             Approval of Disclosure Statement [D.I. 133, 8/28/20]




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             Related Pleadings:

                D.      Chapter 11 Plan for Tonopah Solar Energy, LLC [D.I. 25, 7/30/20]

                E.      Disclosure Statement for Chapter 11 Plan for Tonopah Solar Energy, LLC
                        [D.I. 26, 7/30/20]

                F.      Notice of Filing of Plan Supplement for the Chapter 11 Plan for Tonopah
                        Solar Energy, LLC [D.I. 49, 7/30/20]

                G.      Notice of Hearing to Consider Approval of Disclosure Statement [D.I. 58,
                        7/31/20]

                H.      Notice of Filing Revised Proposed Order (I) Approving the Disclosure
                        Statement; (II) Approving Solicitation and Voting Procedures, Including
                        (A) Fixing the Record Date, (B) Approving the Solicitation Packages and
                        Procedures for Distribution, (C) Approving the Form of Ballot and
                        Establishing Procedures for Voting, and (D) Approving Procedures for Vote
                        Tabulation; (III) Scheduling a Confirmation Hearing and Establishing Notice
                        and Objection Procedures; and (IV) Granting Related Relief [D.I. 139, 9/2/20]

                I.      Debtor’s Reply to SolarReserve CSP Holdings, LLC and CMB Infrastructure
                        Investment Group IX, LP’s Objection to Approval of Disclosure Statement
                        [D.I. 140, 9/2/20]

                J.      Debtors’ Motion for an Order Granting Debtor Leave and Permission to File a
                        Reply in Support of the Disclosure Statement [D.I. 141, 9/2/20]

                K.      Notice of Filing of Blacklined Versions of (I) Chapter 11 Plan for Tonopah
                        Solar Energy, LLC, and (II) Disclosure Statement for Chapter 11 Plan for
                        Tonopah Solar Energy, LLC [D.I. 142, 9/2/20]

             Status:    Items A and B have been resolved. This matter is going forward.


                                            [Signature page follows]




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